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                            UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION


IN RE CATHODE RAY TUBE (CRT)            )   Case No. CV-07-5944-SC
ANTITRUST LITIGATION                    )
                                        )   MDL No. 1917
                                        )
                                        )   LETTER OF REQUEST
This Document Relates to:               )   (LETTERS ROGATORY)
                                        )
ALL ACTIONS                             )
                                        )

             REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                    PURSUANT TO LETTERS ROGATORY

                                   (English Redacted)
